             Case 23-62759-lrc                    Doc 5   Filed 12/27/23 Entered 12/27/23 13:48:40                                Desc Main
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  Fill in this information to identify the case:

              KAir Enterprises LLC
  Debtor name __________________________________________________________________

                                         Northern
  United States Bankruptcy Court for the:_______________________             Georgia
                                                                 District of ________
                                                                             (State)
  Case number (If known):    _________________________                                                                                 Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
   
   ✔ Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
        Wells Fargo
   3.1. _________________________________________________  Checking
                                                          ______________________                3
                                                                                                ____ 9
                                                                                                     ____ 1
                                                                                                          ____ 7
                                                                                                               ____                  1,000
                                                                                                                                   $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____                $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                  1,000
                                                                                                                                   $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:    Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   ✔ No. Go to Part 3.
    Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


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8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    
    ✔ No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
    
    ✔ Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
        ManaAir LLC
   15.1._______________________________________________________________            50.1
                                                                                   ________%            total assets
                                                                                                        _____________________     626.25
                                                                                                                                 $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4                                                                                                               626.25
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



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Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of    Valuation method used     Current value of
                                                    physical inventory    debtor's interest    for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value _______________            Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.

     Yes. Fill in the information below.
      General description                                                 Net book value of    Valuation method used     Current value of debtor’s
                                                                          debtor's interest    for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________    ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________    ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________    ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________          $________________    ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________    ____________________    $______________________


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33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    ✔ No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

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Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________    ____________________   $______________________

   47.2___________________________________________________________          $________________    ____________________   $______________________

   47.3___________________________________________________________          $________________    ____________________   $______________________

   47.4___________________________________________________________          $________________    ____________________   $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________     ____________________   $______________________

   48.2__________________________________________________________          $________________     ____________________   $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________     ____________________   $______________________

   49.2__________________________________________________________          $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




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Part 9:    Real property

54. Does the debtor own or lease any real property?
    
    ✔ No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    
    ✔ No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




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67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    ✔ No. Go to Part 12.
     Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________ –     __________________________         =   $_____________________
    ______________________________________________________
                                                                    Total face amount     doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________

78. Total of Part 11.
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
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Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                        Current value
                                                                                                      personal property                       of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                          1,000
                                                                                                         $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________


83. Investments. Copy line 17, Part 4.
                                                                                                          626.25
                                                                                                         $_______________


84. Inventory. Copy line 23, Part 5.                                                                     $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . .....................................................................................            $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        + $_______________

91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            + 91b. $________________


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................    1,626.25
                                                                                                                                                                  $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                              page 8
